o Oo NY Oo oO FF WO DY =

NM RP RP PRP PD PN KD DP DR =| | |e eh hUuRhlhUuhhlUlUlhlhlUlllLlUlUlUlClUl
oN OO on fF WO NOS |= OC oO DON OD Oo FR WHO PO HX CO

Case 23-50950-hlb Doc 158 Entered 01/13/25 15:29:24 Page1of2

DEMETRAS LAW

J. Craig Demetras

Nevada Bar. No. 4246

230 E. Liberty Street

Reno, NV 89501
(Telephone): 775-348-4600
jed@demetraslaw.com
mail@demetraslaw.com

Attorney for Debtor
UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

IN RE BK-N-23-50950-HLB
PHILIP ANDREW MACKEN, Chapter 13
Debtor STATUS REPORT

Hearing Date: January 15, 2025
Hearing Time: 2:30 p.m.

Debtor, Philip Andrew Macken, by and through his counsel, J. Craig Demetras
of Demetras Law hereby files his Status Report. As of the date of this Status
Report, pending matters include the following:

Claims Objections

JPMorgan Chase Bank filed an unsecured claim for $51,996.50, Claim # 10.

Progressive Insurance Company has delivered a $16,745.39 check made out to Chase
Auto Finance and Phil Macken. Mr. Macken has endorsed the check. Counsel for Mr.
Macken will contact Chase Auto Finance for instructions for the delivery of the funds to

JPMorgan to allow JPMorgan to file an amended proof of claim.

1

—

oO ON OO oO KR WY PD

—_

Case 23-50950-hlb Doc 158 Entered 01/13/25 15:29:24 Page 2 of 2

IRS Claim Objection

The Depositions of Philip Macken and his wife, Dolores Webb Macken, were
taken by the IRS in Reno on November 19, 2024 and November 20, 2024.

The Debtor delivered his Response to Creditor United States’ Second Set of
Interrogatories and his Response to Creditor United States’ Second Set of Requests for
Production on January 6, 2025.

The Deposition of Mr. Macken’s bookkeeper, Cathy Cunningham, will take
place in Reno on January 17, 2025.

The IRS and the Debtor have agreed that no further extension of any discovery
deadlines will be necessary.

The parties have agreed to request the Court to set a mediation/settlement
conference at the Court’s convenience during the period of February 21, 2025 through
February 28, 2025.

Plan Payments

To date, the Debtor has paid $90,707 to the Chapter 13 Trustee. As of the date of
this Status Report, the Debtor is current in his plan payments with J anuary payment due
on January 14, 2025.

DATED this 13" day of January, 2025.

DEMETRAS LAW
/s/ J. Craig Demetras
By: J. Craig Demetras
Attorney for Debtor

